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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

ANTONIO CABALLERO,                                          CASE NO.: 3:20-cv-1939 (JAM)
       Plaintiff/Counterclaim Respondent,
               v.
FUERZAS ARMADAS REVOLUCIONARIAS
DE COLOMBIA (“FARC”) and NORTE DE VALLE CARTEL,
       Defendants,
               v.
INTERACTIVE BROKERS LLC,
       Turnover Garnishee.
_____________________________________________________/
INTERACTIVE BROKERS LLC,
       Counterclaimant and Third-Party Claimant,
               v.
ANTONIO CABALLERO,
       Counterclaim Respondent,
               v.
KEITH STANSELL, et al.,
      Third-Party Respondents.
_____________________________________________________/
             ALBA’S NOTICE OF FILING PROSPOSED SCHEDULING ORDER

       ALBA Petroleos de El Salvadaor S.E.M. de C.V. (“ALBA”) hereby gives notice of filing

the attached proposed scheduling order for the Court’s consideration in the event the Court denies

the Parties’ Joint Motion to Stay Proceedings. ECF Nos. 220, 222.

       ALBA respectfully submits that the parties should conduct limited discovery and that the

Second Circuit’s decisions in Havlish, et al. v. Federal Reserve Bank of N.Y., No. 23-258 (2d Cir.
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Feb. 28, 2023), and Doe v. The Taliban, No. 23-1158 (2d Cir. Aug. 10, 2023), may impact

discovery and motion practice.

Dated: July 12, 2024                          Respectfully submitted,

                                              Marcos Daniel Jiménez
                                              Marcos Daniel Jiménez
                                              New York Bar No. 4881736
                                              León Cosgrove Jiménez, LLP
                                              255 Alhambra Circle, Suite 800
                                              Coral Gables, Florida 33134
                                              Telephone: 305-570-3249
                                              Email: mdj@leoncosgrove.com

                                              James T. Cowdery (ct05103)
                                              Thomas J. Murphy (ct07959)
                                              Cowdery & Murphy, LLC
                                              280 Trumbull Street
                                              Hartford, CT 06103
                                              (860) 278-5555 Office
                                              jcowdery@cowderymurphy.com
                                              tmurphy@cowderymurphy.com




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                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed with the ECF/CM system on July 12,

2024, which then distributed it to all parties of record, and I further sent copies of the foregoing

by mail to:

FARC-EP
c/o Juvenal Ovidio Ricardo Palmera Pineda a/k/a “Simon Trinidad”
Member of FARC-EP
BOP Register No. 27896-016
USP Florence ADMAX-U.S. Penitentiary
P.O. Box 8500
Florence, CO 81226

FARC-EP
c/o Juvenal Ovidio Ricardo Palmera Pineda a/k/a “Simon Trinidad”
Member of FARC-EP
BOP Register No. 27896-016
USP Florence ADMAX
5880 Hwy 67 South
Florence, CO 81226

Norte del Valle Cartel
c/o Diego Leon Montoya Sanchez
Member of NDVC
BOP Register No. 04171-748
FCI Petersburg Medium
P.O. Box 1000
Petersburg, VA 23804
Norte del Valle Cartel
c/o Diego Leon Montoya Sanchez
Member of NDVC
BOP Register No. 04171-748
FCI Petersburg Medium
1060 River Road
Hopewell, VA 23860

                                                     Marcos Daniel Jiménez
                                                     Marcos Daniel Jiménez




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